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               UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA :              CRIM. NO. 3:CR-19-09
                         :
        v.               :              (JUDGE CAPUTO)
                         :
BRUCE EVANS, SR.,        :              FILED ELECTRONICALLY
           Defendant     :


        GOVERNMENT’S BRIEF IN OPPOSITION TO
 DEFENDANT’S MOTION TO DISMISS COUNTS 1 THROUGH 4 OF
      THE INDICTMENT AND BILL OF PARTICULARS

     COMES NOW, the United States of America and submits its

opposition to defendant’s Motion to Dismiss Counts 1 through 4 of the

indictment, and defendant’s Requests a Bill of Particulars (Doc. 40).

Because the indictment, taken as a whole, contains more than enough

factual allegations to put the defendant on notice of the charges against

him; and the charging paragraphs track the language of 33 U.S.C. §

1319(c)(2)(A); and because the Government has provided extensive

discovery in this case, the defendant’s motion should be denied.




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I.   Legal Overview

     The Clean Water Act (CWA) prohibits the discharge of any

pollutant from a point source into navigable waters of the United States

without a permit.   33 U.S.C. § 1311(a).   The Environmental Protection

Agency’s (EPA) National Pollutant Discharge Elimination System

(NPDES) is a program under the Clean Water Act (33 U.S.C. Section

1319) and is authorized by both federal and state laws (Pennsylvania

Clean Streams Law & PA Code Title 25) and associated rules and

regulations under which the Commonwealth is authorized to take

primary responsibility for issuing CWA permits. The program is

meant to preserve and protect the waterways of the nation by setting

limits and standards for the proper operation of wastewater treatment

systems, including required compliance sampling and truthful

reporting. EPA's NPDES permit program controls discharges of

pollutants, as pollutants degrade surface waters making them unsafe

for drinking, fishing, swimming, and other activities.

     Industrial, municipal, and other facilities must obtain permits if

their discharges go directly to surface waters from a point source.    The


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PA Department of Environmental Protection (PADEP) is the state

agency responsible for administering the NPDES program in

Pennsylvania.

     All treatment facilities that discharge wastewater must have an

NPDES permit. The NPDES permit is specific to each treatment

facility and regulates pollutants and describes the terms and conditions

that a permit holder must meet in order to discharge properly treated

wastewater. The program requires permit holders to participate in a

self-monitoring program where they must collect samples and conduct

analysis on the effluent produced by the permitted facility.   Any failure

in regard to self-monitoring (such as fraudulent, inaccurate or

misleading results) destroys public confidence in this type of program to

effectively protect our waterways. 1



      1    The foremost purpose of the CWA is “to restore and maintain
the chemical, physical, and biological integrity of the Nation's waters.”
33 U.S.C. § 1251. To that end, the CWA prohibits all discharge of
pollutants into navigable waters except inasmuch as one of several
enumerated statutory exceptions applies. See 33 U.S.C. § 1311(a). One
such exception is where the polluter has been issued a National
Pollution Discharge Elimination System (“NPDES”) permit. See 33
U.S.C. § 1342. The effluent discharge standards or limitations specified
in an NPDES permit define the scope of the authorized exception to the

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      As alleged in the indictment, the defendant (Bruce Evans, Sr.) was

a Greenfield Township Supervisor, a Greenfield Township Sewer

Authority Board Member, and Manager of the Greenfield Township

Sewer Authority (GTSA). The defendant was an employee of both

Greenfield Township and the GTSA. At the time of the indictment, the

defendant served as a Greenfield Township Supervisor. Defendant

was not certified as a wastewater treatment plant operator for any time

charged in the indictment.


II.   Factual Background

                    April 24, 2013 PADEP Inspection

      The PADEP conducted an inspection of the GTSA facility on April

24, 2013. PADEP personnel were met by the defendant upon arrival

and observed the defendant admittedly engaged in the operation of the

GTSA facility while having no PADEP certification to do so. Upon




prohibition in § 1311(a), and authority to administer the NPDES permit
system may be delegated to a state or regional agency where the state
or regional regulatory scheme meets certain criteria. See 33 U.S.C. §
1342(b); see also Citizens for a Better Environment–California v. Union
Oil Company of California, 83 F.3d 1111, 1113–14 (9th Cir.1996).
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arrival, PADEP personnel observed the defendant in the act of pumping

the contents of the chlorine contact tank, including solids and sewage

sludge, onto the ground and into the grass. PADEP personnel reported

that the untreated contents being discharged by the defendant

ultimately flowed into the discharge channel from the headwall down to

the confluence with the unnamed tributary to Dundaff Creek, where the

discharge was observed by PADEP personnel. PADEP personnel noted

that day and in previous inspection reports that proper maintenance

required that the tanks be cleaned periodically to allow the disinfection

process to function properly, and that sludge should be hauled away for

proper disposal. PADEP inspectors had previously informed the

defendant that more sludge needed to be physically hauled from the

GTSA, despite any associated costs.     On this day, the defendant stated

that it was his decision to pump the sludge directly onto the ground in

lieu of have the sludge hauled from the facility.

     Pumping of the sludge onto the ground which flowed into the

receiving stream violated the NPDES Permit, Part C, Special Condition




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Six, which outlines the requirements for the proper collection, handling

and disposal of sludges, and other solids.

         The defendant also stated that on behalf of Greenfield Township,

he had contracted with an independent engineering outfit to operate the

GTSA facility and that the operator appeared at the facility two or three

days a week.     Evans affirmed that in his view, appearance of the plant

operator only two or three days a week was all that was necessary. On

this date, PADEP personnel observed obvious operational problems

with the facility downstream from the discharge outfall, noting heavy

growth of Sphaerotilus natans,2 and a build-up of solids and GTSA

facility debris, such as condoms and personal hygiene applicators, on

the bottom of the stream and on the banks.




     2 Sphaerotilus natans is an aquatic bacteria associated with
polluted water. Known as a sewage fungus, it can cause bulking of
sludge in the WWTP clarifier tank and is controlled by chlorination. If
inadequate chlorination occurs in treatment, Sphaerotilus natans
bacterial filaments may be noted in the receiving stream, along with the
untreated or partially treated sewage.

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                     October 17, 2017 PADEP Inspection

     On October 17, 2017, PADEP personnel conducted another

inspection of the GTSA plant. Upon arrival, they were met by Bruce

Evans, Jr., son of the defendant and co-defendant. Evans, Jr. reported

that he was a certified wastewater operator (PA Certificate No. S20638)

as of August 17, 2017 and was employed directly by GTSA to operate

the GTSA facility.

     During the October 17, 2017 inspection, PADEP noted several

operation and maintenance issues at the GTSA facility. PADEP

personnel noticed heavy scum on the sequencing batch reactors (SBRs).

The SBR components activate the sludge process for the treatment of

wastewater. The SBRs treat wastewater such as sewage or output

from anaerobic digesters or mechanical biological treatment facilities in

batches.   The presence of heavy scum is a Permit violation pursuant to

Part A. C.1, pertaining to the discharge of scum that has settled to form

deposits in the effluent. PADEP personnel conducted a settleability

test that revealed a very high score of 910 after 30 minutes, with a

“sludge blanket pulling towards the sunlight indicating photo active


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filaments within the biomass.” Sludge accumulation is a violation of

the Permit under Part B.1.D. 2, Proper Operation and Maintenance.

Sludge must be properly handled under Part C.1, Special Condition Six.

        A PADEP inspection of the outfall discharge point revealed a

significant quantity of sewage fungus and sludge around the outfall

area.     PADEP informed Evans, Jr. that those conditions were

unacceptable and a Permit violation. PADEP raised concerns about

the operations of the GTSA facility in general, and Evans, Jr. responded

that he was not familiar with the process control operations.       Evans,

Jr. offered that when he took the certification test in May 2017, he

knew how process control worked, but now (5 months later), he had no

recall.

        Following the inspection on October 17, 2017 and subsequent

notices of violations, the defendant (Evans, Sr.) sent a letter to the

PADEP in which he stated that the outfall had been cleaned and

restored to normal operating condition.




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       December 12, 2017 Execution of Federal Search Warrant

     On December 12, 2017, Special Agents from the EPA, FBI, and

PADEP executed a Federal search warrant at the GTSA facility and

encountered the defendant upon arrival. Agents immediately observed

that the GTSA plant was discharging partially treated, at best, sewage,

solids and sludge.    A thick brown layer of scum, indicative of too much

sludge in the treatment system, was observed overflowing the SBR.

The waste water level was so high that wastewater containing clumps

of sewage solids was flowing over the disinfection unit’s weir directly

into the outfall. In similarity to what was observed during the

PADEP’s inspection in October, 2017, shredded paper or plastic, sewage

solids and sludge were observed in the unnamed tributary or on its

banks. On this date, the defendant acknowledged that the facility was

again in violation.

                                Indictment

     On January 8, 2019, a Federal Grand Jury in Scranton returned a

multi-count indictment against the defendant and co-defendant Bruce

Evans, Jr.   (Doc. 1).   The defendant now alleges that Counts 1


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through 4 of the indictment “must be dismissed because the

Government has failed to allege that any pollutants discharged actually

“reached the waters of the United States – an essential element of the

offense.” The defendant also disputes the mens rea element of the

Clean Water Act (CWA) violations contained in the indictment.       The

defendant argues in the alternative that a bill of particulars should be

ordered while arguing the insufficiency of the 22-page indictment.

     The defendant is legally incorrect in his argument to dismiss

Counts 1 through 4 of the indictment, as alleged violations of the GTSA

NPDES permit does not require the Government to allege that any

pollutant “actually reach” the waters of the United States. He is

likewise wrong in arguing that a bill of particulars is necessary to allow

him to prepare his defense. It is noted that while charged with

violations of 18 U.S.C. § 1343 (wire fraud) in Counts 6 through 13 of the

indictment, the defendant does not include those Counts in his

arguments.




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III.    Legal Discussion

        A. The Indictment Properly States an Offense Under Federal
           Rule of Criminal Procedure 7(c)

       The court should reject the defendant’s motion to dismiss Counts 1

through 4 of the indictment alleging failure to state an offense because

the indictment’s language meets the requirements of Fed. R. Crim. P.

7(c) and relevant case law; tracks the wording of 33 U.S.C. §

1319(c)(2)(A), which the defendant is alleged to have violated; and

comports with existing CWA case law in the Third Circuit on the mens

rea requirement in § 1319(c)(2)(A).

       The indictment or information must be a plain, concise, and

definite written statement of the essential facts constituting the offense

charged……      For each count, the indictment or information must give

the official or customary citation to the statute, rule, regulation or other

provision of law that the defendant is alleged to have violated.” Fed.

R. Crim. P. 7(c). Here, the indictment on its face meets the

requirements not only of Rule 7(c), but also the test outlined by the

Supreme Court in Hamling v. United States, 418 U.S. 87, 117 (1974)




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(“an indictment is sufficient if it, first, contains the elements of the

offense charged and fairly informs a defendant of the charge against

which he must defend, and, second, enables him to plead an acquittal or

conviction in bar of future prosecutions for the same offense” (citations

omitted)).   According to the Third Circuit, “an indictment is facially

sufficient if it (1) contains the elements of the offenses intended to be

charged, (2) sufficiently apprises the defendant of what he must be

prepared to meet, and (3) allows the defendant to show with accuracy to

what extent he may plead a former acquittal or conviction in the event

of a subsequent conviction.”    United States v. Huet, 665 F.3d 588, 595

(3d Cir. 2012) (internal quotations omitted).

      “The rules governing how a charge must be set forth in the

indictment are not exacting. Indeed, they ‘were designed to eliminate

technicalities in pleadings and are to be construed to secure simplicity

in procedure.”’ United States v. Stevenson, 832 F.3d 412, 424 (3d Cir.

2016), quoting United States v. Bergrin, 650 F.3d 257, 264 (3d Cir.

2011) (citations and internal quotation marks omitted). “[N]o greater

specificity than the statutory language is required so long as there is


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sufficient factual orientation to permit a defendant to prepare his

defense and invoke double jeopardy.’”    Huet, 665 F.3d at 595, quoting

United States v. Kemp, 500 F.3d 257, 280 (3d Cir. 2007), quoting

United States v. Rankin, 870 F.2d 109, 112 (3d Cir. 1989).

     In Stevenson, the defendant challenged a fraud count he alleged

did not contain a jurisdictional element, i.e., interstate commerce, in a

case involving possession of a fraudulent driver’s license to aid in the

distribution of a controlled substance and unlawful possession of a

firearm. The Third Circuit noted that while the count did not

specifically contain the interstate commerce element, the indictment

could be read to include such an element and rejected the defendant’s

challenge.   Stevenson, 832 F.3d at 425-26.

     In this case, the indictment satisfies all the requirements set forth

by Rule 7(c), the Supreme Court and the Third Circuit. Title 33 U.S.C.

§ 1319(c)(2) makes it a felony to “knowingly violate [ ] §§ 1311, 1312,

1316, 1317, 1318, 1321(b)(3), 1328, or 1345 of this title…..” Section

1311, requires persons to obtain a CWA National Pollutant Discharge

Elimination System (NPDES) permit in order to discharge pollutants


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legally from a point source into a water of the United States.

     Section 1319(c)(2)A) of the CWA makes it unlawful for any person

to, among other things, knowingly violate and cause a violation of a

permit, which is what is alleged in Counts 1 through 4 of the

indictment. In those Counts, the defendant is charged with violating

the GTSA permit issued under 33 U.S.C. § 1342 by intentionally

pumping the contents of the chlorine contact tank, including solids and

sewage sludge, onto the ground and into the grass, in violation of

NPDES Permit PA 0061671, Part C, Special Condition Six (Count 1); by

knowingly allowing waste materials, including paper and/or plastic,

partially treated sewage and sewage solids….. to not be properly treated

and to accumulate below the outfall of the sewage treatment plant in

the unnamed tributary (Count 2); by knowingly discharging pollutants,

that is, CBOD 5 and Total Suspended Solids, in excess of the NPDES

permit limits for those pollutants into the unnamed tributary to

Dundaff Creek (Count 3); and by knowingly discharging a pollutant,

that is, Fecal Coliform, into the unnamed tributary to Dundaff Creek, in

violation of NPDES Permit PA 0061671, Section A.C.I. (Count 4).


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     Despite defendant’s claims, the charging language of the 22-page

indictment, taken as a whole, sets forth the elements of CWA violations

and provides the defendant with sufficient notice as to the factual basis

for the charges.

     The indictment, at paragraphs 2 and 3, provides the defendant

with notice of his status vis a vis the Greenfield Township Sewer

Authority (GTSA), and the fact that during the time period charged, he

was not certified by the Pennsylvania Department of Environmental

Protection (PADEP) as a wastewater treatment plant operator.

Essentially, the defendant had no authority to be engaged in the

operation and maintenance of the GTSA plant. It remains unclear

why the defendant involved himself in an area of expertise that requires

PADEP certification.

     The indictment, at paragraphs 7 through 12, articulates the

applicable law, including the permit program under the National

Pollution Discharge Elimination Systems (NPDES) and the governing

bodies, the law’s purpose, and relevant definitions as found in the law

applicable to the defendant’s conduct.


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     The indictment, at paragraphs 13 through 19, references the

specific permit issued to the GTSA, the dates of issuance and applicable

coverage periods, the specific NPDES Permit number, parameters and

authority of the permit, as well as specific identification of the unnamed

tributary of Dundaff Creek in Watershed 4-F, specifically tracking the

flow of Dundaff Creek into the Tunkhannock Creek, “which then flows

into the Susquehanna River, a navigable waterway of the United

States.

     The indictment, at paragraphs 20 through 25, alleges various acts

and conduct of the defendant in terms of what he did, what he knew,

and when he did it.

     Counts 1 through 4 of the indictment track the statutory language

contained in Section 1319(c)(2)(A). The Counts charge that the

defendant, on or about certain dates, knowingly violated and caused

violations of the NPDES Permit issued to the GTSA, as stated with

particularity in the indictment. The charging paragraphs contain the

relevant mens rea requirement found in the statute, and conform to

Third Circuit case law regarding use of the word “knowing” in CWA


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prosecutions. “Knowingly,” as used in the CWA, means an “act” which

is done “voluntarily and intentionally, and not because of mistake or

accident or other innocent reason.” United States v. West Indies

Transport, Inc., 127 F.3d 299, 310 (3d Cir. 1997). This is the mens rea

alleged in the indictment.

     The CWA provides for felony violations based upon “knowing”

conduct.   33 U.S.C. § 1319(c)(2).   CWA felony offenses are general

intent crimes which do not require the Government to show that the

defendant knew the law or intended to violate it.   United States v.

Cooper, 482 F.3d 658, 665 (4th Cir. 2007); see also, United States v.

Sinskey, 119 F.3d 712 (8th Cir. 1997); United States v. Hopkins, 53

F.3d 533 (2d Cir. 1995); United States v. Weitzenhoff, 35 F.3d 1275 (9th

Cir. 1994).   As with other federal crimes using the "knowing" mental

state standard, the Government must prove a defendant's knowledge of

the facts that make the action unlawful, not knowledge of the law itself;

a mistake of fact defense is preserved, but a mistake of law defense is

not permitted. The majority view among circuit courts is that the word

“knowingly” as used in 33 U.S.C. § 1319(c)(2), applies to the act of


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discharging a pollutant, but not to other elements of the offense.      Cf.

United States v. Wilson, 133 F.3d 251 (4th Cir. 1997) and United States

v. Ahmad, 101 F.3d 386 (5th Cir. 1996).

     The Government is not required to prove the defendant’s

knowledge of the law, that is, that the material came within the legal

definition of a pollutant; that the conveyance came within the legal

definition of a point source; that the water came within the legal

definition of a water of the United States; or that a permit was required

for the discharge. The Government is also not required to prove the

defendant’s knowledge of any connections between the receiving water

body and any other water body or that the defendants knew his or her

actions were unlawful or that they violated the CWA. United States v.

Cooper, 482 F.3d at 665-667. As the Supreme Court stated in Bryan v.

United States, 524 U.S. 184, 193 (1998) (footnote omitted), "unless the

text of the statute dictates a different result, the term 'knowing' merely

requires proof of knowledge of the facts that constitute the offense." See

also Rogers v. United States, 522 U.S. 252 (1998) (plurality opinion);

Staples v. United States, 511 U.S. 600 (1994); United States v.


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International Minerals & Chemical Corp., 402 U.S. 558 (1971).

     The Government need not prove a defendant's factual knowledge

that the pollutant was going into the “waters of the United States” as

an essential fact that makes the act unlawful, in view of United States

v. Ortiz, 427 F.3d 1278, 1283 (10th Cir. 2005) (CWA does not require

proof that a defendant knew that a discharge would enter United States

waters) and, more recently, United States v. Cooper, 482 F.3d at 665.

However, the Government needs to prove that the discharges were

heading into a body of water. Id.

     Additionally, the charging paragraphs correctly cite §1319(c)(2)(A)

as the law alleged to have been broken by the defendant as required by

Rule 7(c).

     Thus the indictment correctly charges the defendant with the

applicable offenses and puts him on notice of the charges.    The detailed

indictment contains more than enough legal and factual detail to

apprise the defendant of what he must be prepared to meet at trial and

to permit him to assert any claim of double jeopardy.




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     It is clear that the defendant really seeks to obtain a ruling from

the court on whether the defendant acted “knowingly” with respect to

each element of the offenses charged in violation of § 1319(c)(2)(A).

The defendant’s citation to United States v. Ahmad, 101 F.3d 386 (5th

Cir. 1997) and United States v. Wilson, 133 F.3d 251 (4th Cir. 1997),

without noting that the Fourth Circuit limited Wilson to its facts in

United States v. Cooper, 482 F.3d 658 (4th Cir. 2007), or discussing

other CWA intent appellate decisions, demonstrates that the parties

disagree on which elements “knowingly” will apply to in this case.

However, this is an issue for the court to decide at the jury instruction

phase of the case, not now.   Given the defendant’s clear articulated

conduct in relation to personally pumping sewage sludge from the

chlorine contact tank, including solid waste, directly onto the ground

and into the grass, as well as other of the defendant’s acts articulated in

the indictment, the defendant has more than ample notice of the

charges he faces.   The indictment meets the requirements of Rule 7(c).




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     B. Defendant is not entitled to a Bill of Particulars

     Rule 7(f) of the Federal Rules of Criminal Procedure allows a

district court to direct the filing of a bill of particulars. In determining

whether to grant a motion for a bill of particulars, a trial court must

strike a “prudent balance” between the defendant’s interest in securing

information and the Government’s interest in not committing itself to

facts before it is in a position to do so. United States v. Rosa,

891 F.2d 1063, 1066 (3d Cir. 1989). “The purpose of a bill of

particulars is to inform the defendant of the nature of the charges

brought against him to adequately prepare his defense, to avoid

surprise during the trial and to protect him against a second

prosecution for an inadequately described offense.”     United States v.

Addonizio, 451 F.2d 49, 63-64 (3d Cir. 1971). A bill of particulars

should only be granted “where the indictment is too vague or indefinite

to reasonably allow a defendant to prepare his defense.” Id. A bill of

particulars “is not be used by the defendant as a discovery tool,” United

States v. Fischbach & Moore, Inc., 576 F. Supp. 1384-1389 (W.D. Pa.

1983), but rather is appropriate only when “an indictment’s failure to


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provide factual or legal information significantly impairs the

defendant’s ability to prepare his defense or is likely to lead to

prejudicial surprise at trial.   United States v. Rosa, 891 F.2d 1063,

1066 (3d Cir. 1989).

      In considering whether to grant a motion for a bill of particulars,

courts must consider “numerous countervailing considerations,”

including: unfairness to the Government, Rosa, 891 F.2d at 1066, the

sufficiency of the indictment, Fischbach & Moore, Inc., 576 F. Supp. at

1389, and the extent to which the Government has provided discovery,

United States v. Urban, 404 F.3d 754, 772 (3d Cir. 2005). “A bill of

particulars, unlike discovery, is not intended to provide the defendant

with the fruits of the Government’s investigation.    Rather, it is

intended to give the defendant only that minimum amount of

information necessary to permit the defendant to conduct his own

investigation.”   United States v. Smith, 776 F.2d 1104, 1111 (3d Cir.

1985) (internal citations omitted).

      The 22-page indictment in this case clearly describes the

Government’s theory of the case, summarizes the evidence and is not


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vague in any way. The Government has already provided voluminous

discovery to the defendant, well beyond what the law requires at this

point in the proceedings.   The Government has essentially provided its

complete investigative file, including the fruits of all evidence seized

from the GTSA facility and the defendant’s office during the execution

of a federal search warrant in December of 2017.     All physical evidence

seized has been made available to the defendant for inspection. In

addition, the Government has provided a complete “mirror image” of all

seized electronic data in this case, whether relevant or not.

     The Government has provided the defendant with thousands of

pages of material garnered through the investigation including all

financial information in its possession, inspection reports, notices of

violations, contracts, permits, laboratory results, and all photographs

taken throughout the investigation.      The Government has provided all

of the defendant’s statements, as well as all video captures and

photographs relevant to the instant prosecution.

     The Government has provided the defendant with the entire

affidavit in support of the search warrant executed in December 2017 at


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the GTSA facility. The affidavit provides detailed information about

the federal investigation, the manner in which the information was

obtained, and the conclusions drawn from the information. The

Government has provided the defendant with thousands of pages of

additional documents referenced in the affidavit of probable cause,

including all minutes from GTSA Board meetings for the time period

charged in the indictment.

     All of the information the defendant now seeks by way of a bill of

particulars is included in the discovery currently in the hands of the

defendant. The Government will continue to comply with all discovery

obligations and will produce materials as the investigation continues

and information becomes available.

     It is well-settled that a defendant is not entitled to a bill of

particulars as a matter of right. Wong Tai v. United States, 273 U.S.

77, 82 (1927).   Rule 7(f) of the Federal Rules of Criminal Procedure

authorizes a bill of particulars only where an indictment fails to

sufficiently apprise the defendant of the offense(s) with which he is

charged. Such a bill is not necessary when the indictment “sets forth


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the elements of the offense charged and sufficiently apprises the

defendant of the charges to enable him to prepare for trial.”    United

States v. Kendall, 665 F.2d 126, 134 (7th Cir. 1981); United States v.

Canino, 949 F.2d 928, 949 (7th Cir. 1991). See also United States v.

Hamling, 418 U.S. 87, 117-19 (1974) (indictment that repeats wording

of the statute is generally sufficient.)

      A charging document satisfies this standard if it sets forth the

elements of each offense charged, cites the statutes violated, and

generally identifies the time and place of the defendant’s conduct that

allegedly violated the statute. United States v. Roya, 574 F.2d 386, 391

(7th Cir. 1978).   This is true because a defendant has a constitutional

right to know only the offenses with which he is charged, not “the

details of how it will be proved.” United States v. Kendall, 665 F.2d at

135; United States v. Richardson, 130 F.3d 765, 776 (7th Cir. 1997);

United States v. Balogun, 971 F. Supp. 1215, 1227 (N.D. Ill. 1997).

      As this Circuit has clearly stated:

      A bill of particulars, unlike discovery, is not intended to
      provide the defendant with the fruits of the government
      investigation. . . . Rather, it is intended to give the defendant



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      only that minimum of information necessary to permit the
      defendant to conduct his own investigation.

United States v. Smith, 776 F.2d 1104, 1111 (3d Cir. 1985) (citations

omitted) (emphasis in original); see also United States v. Automated

Medical Laboratories, Inc., 770 F.2d 399, 405 (4th Cir. 1985) (“[a] bill of

particulars is not to be used to provide detailed disclosure of the

Government's evidence in advance of trial.”); Hemphill v. United States,

392 F.2d 45, 49 (8th Cir. 1968)(“[a]cquisition of evidentiary detail is not

the function of the bill of particulars”).   Similarly, a motion for a bill of

particulars should be denied where the defendant is inappropriately

seeking to require the Government to “weave the information at its

command into the warp of a fully integrated trial theory for the benefit

of the defendants.” United States v. Addonizio, 451 F.2d at 64 (3d Cir.

1971); United States v. Burgin, 621 F.2d 1352, 1359 (5th Cir. 1980) (a

bill of particulars “is not designed to compel the Government to detailed

exposition of its evidence or to explain the legal theories upon which it

intends to rely at trial”).




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     A bill of particulars is even more inappropriate when, as in this

case, the Government supplements an indictment with extensive

discovery.

     For the foregoing reasons, it is clear that the Government should

not be ordered to produce a bill of particulars and the defendant’s

motion should be denied.    The indictment in this case complies with

the requirement that all essential elements of the alleged crimes be

pleaded. Moreover, the Government has provided the defendant with

extensive discovery, as well as discovery not yet required to be provided.

Therefore, in light of the case law and the specific circumstances of this

case, a bill of particulars is simply not warranted.




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IV.   Conclusion

      WHEREFORE, the Government respectfully requests that the

Court deny the defendant’s motion to dismiss Counts 1 through 4 of the

indictment, as well as the defendant’s alternative request for a bill of

particulars.

                                  Respectfully submitted,

                                  DAVID J. FREED
                                  United States Attorney

                                  /s/ Michelle L. Olshefski
                                  MICHELLE L. OLSHEFSKI
                                  Assistant U.S. Attorney
Date: December 2, 2019            Atty ID No. PA 79643




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                     CERTIFICATE OF SERVICE

     The undersigned hereby certifies that on the 2nd day of December,

2019, I caused the foregoing “Government’s Brief in Opposition to

Defendant’s Motion to Dismiss Counts 1 through 4 of the Indictment

and for Bill of Particulars” to be served upon Patrick Casey, Esquire,

counsel of record for the defendant, and that Attorney Casey is a filing

user under the ECF system.



                                  /s/ Michelle Olshefski
                                  MICHELLE OLSHEFSKI
                                  Assistant United States Attorney




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